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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                         May 19, 2023
                                                                      Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

        UNITED STATES OF          §   CRIMINAL ACTION NO
        AMERICA                   §   4:21-CR-00066
                                  §
                                  §
              vs.                 §   JUDGE CHARLES ESKRIDGE
                                  §
                                  §
        LADONNA WIGGINS,          §
                Defendant.        §

                                ORDER

           Pending is a motion by Defendant Ladonna Wiggins to
       reconsider the order denying her motion to modify terms of
       pretrial release. Dkt 189. The Government and Probation
       Office both oppose the motion. Probation notes in its
       opposition that Defendant recently submitted questionable
       information as to income, employment, and current
       address.
           The motion to reconsider is DENIED. Dkt 189.
           SO ORDERED.
           Signed on May 19, 2023, at Houston, Texas.




                                Hon. Charles Eskridge
                                United States District Judge
